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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               § CASE NUMBER 4:21-CR-00048
                                                  §
 SHANLIN JIN                                      §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE


        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

 28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On December 28, 2021, this case came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by Defendant, Shanlin Jin, to Count Three of the Indictment.

 Count Three of the Indictment alleges that on or about January 12, 2021, in the Eastern District

 of Texas, Defendant Shanlin Jin did knowingly possess material, namely, an Alienware desktop

 computer bearing service tag number 99FF4Z2 that contained images of child pornography, as

 defined in Title 18, United States Code, Section 2256(8), involving a prepubescent minor and a

 minor who had not attained 12 years of age, that had been shipped and transported using any

 means and facility of interstate and foreign commerce; that had been shipped and transported in

 and affecting interstate and foreign commerce by any means, including by computer; and that

 had been produced using materials that had been mailed and shipped and transported in and

 affecting interstate and foreign commerce by any means, including by computer, all in violation

 of Title 18 U.S.C. § 2252A(a)(5)(B) and (b)(2) – Possession of Child Pornography.
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          Defendant entered a plea of guilty to Count Three of the Indictment into the record at the

 hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11, the undersigned finds:

          a.       Defendant, after consultation with his attorney, has knowingly, freely, and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court;

          b.       Defendant and the Government have entered into a plea agreement which was

 disclosed and addressed in open court, entered into the record, and placed under seal. Defendant

 verified that he understood the terms of the plea agreement and acknowledged that it was his

 signature on the plea agreement. To the extent the plea agreement contains recommendations and

 requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the Court advises Defendant that he has no

 right to withdraw the plea if the Court does not follow the particular recommendations or

 requests. To the extent that any or all of the terms of the plea agreement are pursuant to Rule

 11(c)(1)(A) or (C), the undersigned advises Defendant that he will have the opportunity to

 withdraw his plea of guilty should the Court not follow those particular terms of the plea

 agreement;1


 1
   (3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the
 extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included
 in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
 Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in
 camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
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          c.       Defendant is fully competent and capable of entering an informed plea, Defendant

 is aware of the nature of the charges and the consequences of the plea, and the plea of guilty is

 made freely, knowingly, and voluntarily. Upon addressing Defendant personally in open court,

 the undersigned determines that Defendant’s plea is knowing and voluntary and did not result

 from force, threats, or promises (other than the promises set forth in the plea agreement). See

 FED. R. CRIM. P. 11(b)(2); and

          d.       Defendant’s knowing and voluntary plea is supported by an independent factual

 basis establishing each of the essential elements of the offense, and Defendant realizes that his

 conduct falls within the definition of the crime charged under Title 18 U.S.C. § 2252A(a)(5)(B)

 and (b)(2) – Possession of Child Pornography.

                                             STATEMENT OF REASONS

          As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis. In support, the Government would prove that Defendant is one and the same

 person charged in the Indictment and that the events described in the Indictment occurred in the

 Eastern District of Texas. The Government would also have proven, beyond a reasonable doubt,

 each and every essential element of the offense as alleged in Count Three of the Indictment

 through the testimony of witnesses, including expert witnesses, and admissible exhibits. In

 support of Defendant’s plea, the undersigned incorporates the proffer of evidence described in

 detail in the factual basis and stipulation, filed in support of the plea agreement.

          Defendant, Shanlin Jin, agreed with and stipulated to the evidence presented in the

 factual basis. Counsel for Defendant attested to Defendant’s competency and capability to enter




 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated. FED. R. CRIM. P. 11(c)(3)-(5).
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 an informed plea of guilty. Defendant agreed with the evidence presented by the Government

 and personally testified that he was entering his guilty plea knowingly, freely, and voluntarily.

                                   RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count Three of the Indictment. It is also recommended that

 the District Court defer acceptance of the plea agreement until after review of the presentence

 report. Accordingly, it is further recommended that Shanlin Jin be finally adjudged guilty of the

 charged offense in violation of Title 18 U.S.C. § 2252A(a)(5)(B) and (b)(2) – Possession of

 Child Pornography.

        If the plea agreement is rejected and Defendant still persists in the guilty plea, the

 disposition of the case may be less favorable to Defendant than that contemplated by the plea

 agreement. Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. Defendant has the right to allocute before the District Court

 before imposition of sentence.

        Both Parties waived the fourteen (14) day objection period.

        SIGNED this 4th day of January, 2022.




                                    ___________________________________
                                    Christine A. Nowak
                                    UNITED STATES MAGISTRATE JUDGE
